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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


SECURITIES AND EXCHANGE
COMMISSION,

                  Plaintiff,
                                                 Civil Action File No.
                                                 1:24-cv-03774-MHC
                       v.

TANNER S. ADAM, JONATHAN L.                      JURY DEMAND
ADAM, TRITEN FINANCIAL GROUP,
LLC, and GCZ GLOBAL LLC,

                  Defendants.

    CONSENT JUDGMENT AS TO DEFENDANT GCZ GLOBAL LLC

      The Securities and Exchange Commission having filed a Complaint and

Defendant GCZ Global LLC having entered a general appearance; consented to the

Court’s jurisdiction over Defendant and the subject matter of this action; consented

to entry of this Judgment without admitting or denying the allegations of the

Complaint (except as to jurisdiction); waived findings of fact and conclusions of

law; and waived any right to appeal from this Judgment:

                                         I.

      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that

Defendant is permanently restrained and enjoined from violating, directly or

indirectly, Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange
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Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5 promulgated thereunder [17 C.F.R.

§ 240.10b-5], by using any means or instrumentality of interstate commerce, or of

the mails, or of any facility of any national securities exchange, in connection with

the purchase or sale of any security:

      (a)    to employ any device, scheme, or artifice to defraud;

      (b)    to make any untrue statement of a material fact or to omit to state a

      material fact necessary in order to make the statements made, in the light of

      the circumstances under which they were made, not misleading; or

      (c)    to engage in any act, practice, or course of business which operates or

      would operate as a fraud or deceit upon any person.

by, directly or indirectly, (i) creating a false appearance or otherwise deceiving any

person, or (ii) disseminating false or misleading documents, materials, or

information or making, either orally or in writing, any false or misleading

statement in any communication with any investor or prospective investor, about:

             (A) any investment strategy or investment in securities,

             (B) the prospects for success of any product or company,

             (C) the use of investor funds,

             (D) compensation to any person,

             (E) Defendant’s qualifications to advise investors; or

             (F) the misappropriation of investor funds or investment proceeds.


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      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Judgment by personal service

or otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys;

and (b) other persons in active concert or participation with Defendant or with

anyone described in (a).

                                         II.

      IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND

DECREED that Defendant is permanently restrained and enjoined from violating

Section 17(a) of the Securities Act of 1933 (the “Securities Act”) [15 U.S.C. §

77q(a)] in the offer or sale of any security by the use of any means or instruments

of transportation or communication in interstate commerce or by use of the mails,

directly or indirectly:

      (a)    to employ any device, scheme, or artifice to defraud;

      (b)    to obtain money or property by means of any untrue statement of a

      material fact or any omission of a material fact necessary in order to make

      the statements made, in light of the circumstances under which they were

      made, not misleading; or

      (c)    to engage in any transaction, practice, or course of business which

operates or would operate as a fraud or deceit upon the purchaser.


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by, directly or indirectly, (i) creating a false appearance or otherwise deceiving any

person, or (ii) disseminating false or misleading documents, materials, or

information or making, either orally or in writing, any false or misleading

statement in any communication with any investor or prospective investor, about:

             (A) any investment strategy or investment in securities,

             (B) the prospects for success of any product or company,

             (C) the use of investor funds,

             (D) compensation to any person,

             (E) Defendant’s qualifications to advise investors; or

             (F) the misappropriation of investor funds or investment proceeds.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Judgment by personal service

or otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys;

and (b) other persons in active concert or participation with Defendant or with

anyone described in (a).

                                         III.

      IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND

DECREED that Defendant shall pay disgorgement of ill-gotten gains,

prejudgment interest thereon, and a civil penalty pursuant to Section 20(d) of the


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Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the Exchange Act [15

U.S.C. § 78u(d)(3)]. The Court shall determine the amounts of the disgorgement

and civil penalty upon motion of the Commission. Prejudgment interest shall be

calculated from January 1, 2023, based on the rate of interest used by the Internal

Revenue Service for the underpayment of federal income tax as set forth in 26

U.S.C. § 6621(a)(2). In connection with the Commission’s motion for

disgorgement and/or civil penalties, and at any hearing held on such a motion: (a)

Defendant will be precluded from arguing that it did not violate the federal

securities laws as alleged in the Complaint; (b) Defendant may not challenge the

validity of the Consent or this Judgment; (c) solely for the purposes of such

motion, the allegations of the Complaint shall be accepted as and deemed true by

the Court; and (d) the Court may determine the issues raised in the motion on the

basis of affidavits, declarations, excerpts of sworn deposition or investigative

testimony, and documentary evidence, without regard to the standards for

summary judgment contained in Rule 56(c) of the Federal Rules of Civil

Procedure. In connection with the Commission’s motion for disgorgement and/or

civil penalties, the parties may take discovery, including discovery from

appropriate non-parties.




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                                         IV.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the

Consent is incorporated herein with the same force and effect as if fully set forth

herein, and that Defendant shall comply with all of the undertakings and

agreements set forth therein.

                                          V.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this

Court shall retain jurisdiction of this matter for the purposes of enforcing the terms

of this Judgment.

                                         VI.

      There being no just reason for delay, pursuant to Rule 54(b) of the Federal

Rules of Civil Procedure, the Clerk is ordered to enter this Judgment forthwith and

without further notice.


Dated: ______________, _____

                                        ____________________________________
                                        MARK H. COHEN
                                        UNITED STATES DISTRICT JUDGE




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